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                          ORIGINAL
                   IN THE UNITED STATES DISTRICT CCURT
                                                             NORTHERN DISTRICT OF TEXAS
                                                                      FILED~---.
                   FOR THE NORTHERN DISTRICT OF TEXAS
                                                                     AUG 2 5 2017
                           FORT WORTH DIVISION



THOMAS E. PEREZ [now
R. ALEXANDER ACOSTA],
Secretary of Labor,

      Plaintiff,                         Civil Action No. 4:16-CV-1057-A

v.

ASSOCIATION OF PROFESSIONAL
FLIGHT ATTENDANTS,

      Defendant.

     APPENDIX TO PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT




                                          JOHN R. PARKER
                                          United States Attorney

                                         Brian W. Stoltz
                                         Assistant United States Attorney
                                         Texas Bar No. 24060668
                                         1100 Commerce Street, Third Floor
                                         Dallas, Texas 75242-1699
                                         Telephone: 214-659-8626
                                         Facsimile: 214-659-8807
                                         brian.stoltz@usdoj .gov

                                         Attorneys for Plaintiff,
                                         the Secretary of Labor
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                                                  Respectfully submitted,

                                                  JOHN R. PARKER
                                                  United States Attorney



                                                  Brian W. Stoltz
                                                  Assistant United States Attorney
                                                  Texas Bar No. 24060668
                                                  1100 Commerce Street, Third Floor
                                                  Dallas, Texas 75242-1699
                                                  Telephone: 214-659-8626
                                                  Facsimile: 214-659-8807
                                                  brian.stoltz@usdoj .gov

                                                  Attorneys for Plaintiff,
                                                  the Secretary of Labor

                                   Certificate of Service

       On August   A5 , 2017, I served the foregoing document on defendant, the
Association of Professional Flight Attendants, by mailing it by prepaid first-class mail to

defendant's counsel of record, addressed as follows:

      Andrew D. Roth
      Bredhoff & Kaiser, P.L.L.C.
      805 Fifteenth St., N.W., Tenth Floor
      Washington, D.C. 20005




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                                                           ELECTION NOTICE

   Pursuant to Article VI, Section 2 of the APFA Constitution, Notifications of WILLINGNESS-TO-SERVE are now being accepted
   for the NATIONAL OFFICER positions of NATIONAL PRESIDENT, NATIONAL VICE PRESIDENT, NATIONAL SECRETARY
   and NATIONAL TREASURER.


                                                      CANDIDATE INFORMATION

   This election is open to all members in good standing. Each candidate must be a member in good standing by 0900 CT,
   November 20, 2015. Any member in good standing may self-nominate her/himself or may nominate another member.
   Candidates not self-nominated will be contacted by the National Ballot Committee to confirm their Willingness-to-Serve.
   Withdrawals must be made within three (3) days after the Willingness-to-Serve due date.


                                                         VOTER INFORMATION

   In order to be able to vote, each APFA member must be a member in good standing (no more than sixty (60) days in dues
   arrears) no later than five (5) days prior to the date the votes are counted ("balloting date") by January 4, 2016, for the primary
   election and by February 16, 2016, for any run-off election. A member will also be eligible to vote if he or she is on an official
   APFA payment plan that was executed at least thirty (30) days prior to the balloting date by December 10, 2015, for the primary
   election and by January 19, 2016, for any run-off election.

                                                         ELECTION TIMETABLE

   Willingness-to-Serve Notifications must be received in the designated P.O. Box by 1000 CT, November 20,2015. The National
   Ballot Committee accepts no responsibility for the failure of the U.S. Postal Service to deliver Express Mail, Certified Mail, or
   proper notification thereof, to the P.O. Box. Regular mall, posted in a timely fashion, is recommended.

   Ballots will be mailed December 10, 2015. Ballots must be cast by 1000 CT, January 9, 2016. If no candidate receives a
   majority (50% plus one) of the valid votes cast for a national office, the National Ballot Committee will mail a run-off ballot to all
   members no later than January 19, 2016. Ballots for the run-off election must be cast by 1000 CT, February 18, 2016.

   The newly elected National Officers will assume office on April1, 2016 for a four-year term of office ending on March 31, 2020.


                                           INSTRUCTIONS FOR WILLINGNESS-TO-SERVE


   Only this form or a photocopy will be accepted. All information should be typed or printed. Each candidate's information will be
   reprinted with a consistent format, and no graphics will be included.

   All candidate information is optional, including personal statements and references. There will be no corrections made to
   spelling, punctuation, grammar, capitalization, intent or content. If limitations are exceeded, personal statements will be
   cut off at the limit and biographical information will be brought into compliance by deleting the oldest items. It is the
   responsibility of the candidate to inform references that their names will be printed in the ballot packet. As a reminder
   to all prospective candidate~. the use of the APFA or the American Airlines logo, symbol or insignia on campaign material is
   prohibited.

          All Willingness-to-Serve Notifications must be received in the following P.O. Box by 1000 CT, November 20, 2015:
                             APFA National Ballot Committee, P.O. Box 907, Euless, Texas 76039-0907


                              TO DOWNLOAD A WILLINGNESS-TO-SERVE GO TO: WW'fi.APFA.ORG



                                                                                                                                            I
                                                                                                                                            I
                                                                                                                                            I
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NATIONAL OFFICER ELECTION

VOTING NOTICE & INSTRUCTIONS
       •t•lllltlniiiii.,J,J,IItl hl'•l•lnlll•••lllt'l•'•'•"l•ll•lll•l
       10 tO 1 *********************MIXED AADC 480




NATIONAL OFFICER ELECTION
December 10, 2015
Dear APFA Member,

                          ~'r*Mrl: ATTENTION: MAJOR CHANGE                       *****
                    YOU WILL NOT BE ABLE TO CHANGE YOUR VOTE
The National Officer Election is being conducted by secret ballot using the telephone
and Internet, through the BallotPoint Election Services voting system. To vote, follow the
instructions shown below. You may vote only once. If you have any questions, please contact
National Ballot Committee by phone at 817.540.0108 ext. 8311.
Voting opens: 10:00 AM CT on Thursday, December 10, 2015
Voting closes: 1o:oo AM CT on Saturday, January g, 2016
                                                                                         Access Code: 4860 7508 5447

LOGIN and VOTING INSTRUCTIONS
You will have about 15 minutes to cast your vote once you have logged in to the BallotPoint system. To help you cast
your vote successfully, you can prepare your selections before logging in by reviewing the Voting Guide.
 1.   To vote by phone: Call 1.8oo.6g8.3789 toll-free within the US, Canada, and Puerto Rico, Outside these toll-free
      areas call1.503.419.1145· Enter the Access Code shown above when prompted.
      To vote by Internet: Go to: https:fiBallotPoint.comfAPFA- be sure to type the s in https. Click the CLICK TO LOG
      IN button, which takes you to the Bal!otPoint MRNS {Member Registration and Notification Server). Enter the
      Access Code shown above and click Log ln.
 2.   Follow the directions to cast your vote. Done!
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   NATIONAL OFFICER ELECTION

   VOTING GUIDE
   YOU WILL NOT BE ABLE TO CHANGE YOUR VOTE.
   To vote, please follow the instructions pr-ovided in the Voting Notice 8~., instructions.


    Welcome APFA member.
    P~~~!-~elect one of the following candidates for APFA National President:
    •   Lori Bassani                                  (phone: press 1)
    •   Steven Baumert                                (phone: press 2)
    •   Kimberly Goesling                             (phone: press 3)
    •   Patrick Hancock                               (phone: press 4)
    •   Andrea S. jones                               (phone: press 5)
    •   Brian Morgan                                  (phone: press 6)
    •   Bob Ross                                      (phone: press 7)
    •   Rock Salomon                                  (phone: press 8)



    •   Marcus Gluth                                  (phone: press 1)
    •   Nena Martin                                   (phone: press 2)
        Samuel Morales                                (phone: press 3)



        Nicole Darak                                  (phone: press 1)
        Marcy Dunaway                                 (phone: press 2)
    •   Jacob Fuller                                  (phone: press 3)
    •   Donald LeBlanc                                (phone: press 4)
    •   jaana Lehtola                                 (phone: press 5)

    Please select one of the following can~id~_!~s for APFA National Treasurer:
    •   Craig Gunter                                  (phone: press 1)
    •   Roee Rio Harrari                              (phone: press 2)
    •   Stefany jones                                 (phone: press 3)
        Nestor Quecuty                                (phone: press 4)
    •   Eugenio Vargas                                (phone: press 5)




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                                   THE
                       CONSTITUTION ·
                                 OF THE

                       ASSOCIATION
                                      OF

                       PROFESSIONAL
                               FLIGHT
                       ATTENDANTS
                        As amended by the APFA Men1bership
                                 JUNE 18, 2014
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                       (7) The National Vice President shall be authorized to
                             hire, retain and employ legal counsel as may be
                            required to provide members with representation in
                            the grievance and arbitration process, subject to the
                            approval of the Executive Committee.
                      (8) The National Vice President shall ensure the
                            training and continuing education of all
                            representatives involved in the grievance and
                            arbitration process.
                      (9) The National Vice President shall coordinate arid
                            chair a Grievance Review Committee to oversee
                            the disposition of grievances.
                   D. Duties of the National Secretary shall include but not be
                      limited to the following:
                      (1) The National Secretary shall be responsible for all
                            administrative records of the Association.
                      (2) The National Secretary shall cause to be kept an
                            administrative record of all officers, representatives
                            and appointees.
                      (3) The National Secretary shall notify the Board of
                            Directors, the Executive Committee and the OAL
                            Operation Advisory Panel of any convention or
                            meeting.
                      (4) The National Secretary shall cause to be kept a
                            record of all proceedings at any convention or
                            meeting of the Board of Directors, or at any meeting
                            of the Executive Committee and the OAL Operation
                            Advisory Panel.
                      (5) The National Secretary shall submit a written report
                            of all meetings of the Executive Committee and the
                            OAL Operation Advisory Panel to the Board of
                            Directors within fifteen (15) days following such
                            meeting.
                      (il) :fht'
                      (7} The National- Secretary shall assist the National
                            President in the preparation of any Annual Report to
                            the members of the APFA.
                      (8} The National Secretary shall administer Article VII
                            procedures.
                      (9) The National Secretary shall update and ensure
                            distribution of the APFA Policy Manual.
                      (1 0) The National Secretary shall assist in establishing
                            regular training and continuing education programs
                            for representatives of the APFA, and shall maintain
                            the APFA training records of all representatives .



              22                              . ARTICLE Ill-GOVERNMENT OF THE APFA
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                      (2) The candidate receiving the majority of valid votes
                            cast for an office in the runoff election shall be
                            deemed elected to that office and be so notified by
                            the National Secretary.
                   I. In any balloting for Base Representative, the candidate
                      receiving the highest number of valid votes cast for a
                      position shall be deemed elected to that posnion and be
                      so notified by the National Secretary.
                   J. In the event that a tie exists in the balloting for a Base
                      Representative, a runoff balloting shall be accomplished
                      pursuant to the procedures in H of this Section 5.
                   K. An issue will be considered ratified by the membership if
                      it receives a plurality of the valid votes cast.
                   L. All ballots and ather election materials, notes and
                      records shall be sealed after being counted and certified
                      as provided far herein, and shall remain in the
                      possession of the National Secretary for at least one (1)
                      year from the balloting date in accordance with all
                      appropriate time limits required by Federal law.
                   M. Should the margin of victory in a ballot count be ten
                      percent (10%) or less and in the event a candidate
                      challenges the accuracy of such ballot count in writing to
                      the National Secretary within fourteen {14) days
                      following the Canvassing Date, a recount shall occur and
                      the APFA shall assume all related costs. Should the
                      margin of victory be greater than ten percent (10%}, the
                      cost related to any such recount shall be borne by the
                      candidate challenging the accuracy of the ballot count.




              36                              ARTICLE VI- NOMINATIONS AND ELECTIONS
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                  Section 7.              VACANCY IN OFFICE, NATIONAL OFFICERS:
                       A. In the event of a vacancy in the office of the National
                           President, the National Vice President shall assume the
                           office for the balance of the llnexpired term.
                       B. In the event of a vacancy in the office of the National
                           Vice President, if the unexpired term from the date of the
                           vacancy Is more than eighteen (18) months, a
                           membership election shall be held to fill the vacancy in
                           accordance with the time limits provided in Section 2 and
                          Section 5 of this Article VI. The Board of Directors shall
                          appoint an interim National Vice President to serve until
                          the result of the election is known. If the unexpired term
                          of the National Vice President is eighteen (18) months or
                          less, th~ office shall be filled by appointment by the
                          Board of Directors.
                       C. In the event of a simultaneous vacancy in the office of
                          the National President and National Vice President, if the
                          unexpired terms from the date of the vacancies are more
                          than eighteen (18) months, a membership election shall
                          be held to fill the vacancies in accordance with the time
                          limits provided in Section 2 and Section 5 of this Article
                          VI. The Board of Directors shall appoint an interim
                          National President and an interim National Vice
                          President to serve until the results of the elections are
                          known. If the unexpired terms are eighteen (18) months
                          or less, the offices shall be filled by appointments by the
                          Board of Directors.                         ·
                       D. In the event of a vacancy in the offices of National
                          Secretary or National Treasurer, if the unexpired term
                          from the date of the vacancy is more than eighteen (18)
                          months, a membership election· shall be held to fill the
                          vacancy in accordance with the time limits provided in
                          Section 2 and Section 5 of this Article VI. The Board of
                          Directors shall appoint an interim National Secretary or

                  ARTICLE   Yl :.._NOMINATIONS AND ELECTIONS                      37
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     Cindy Horan                                                             July 27, 2017
                                     Washington, D.C.

                                                                                 Page 1

       1               IN THE UNITED STATES DISTRICT COURT

       2                FOR THE NORTHERN DISTRICT OF TEXAS

       3                        FORT WORTH DIVISION

       4                              - - - - -     X

       5      R. ALEXANDER ACOSTA,

       6      Secretary of Labor

       7           Plaintiff,                              Civil Action No.

       8                 v.                                4:16-cv-1057-A

       9      ASSOCIATION OF PROFESSIONAL

      10      FLIGHT ATTENDANTS,

      11           Defendant.

      12           - - - - - - - - - - - - -        X

      13                                 Washington, D.C.

      14                                 Thursday, July 27, 2017

      15                 Deposition of CINDY HORAN, a witness

      16    herein, called for examination by counsel for

      17    Plaintiff in the above-entitled matter, pursuant to

      18    notice, the witness being duly sworn by ANGELA K.

      19    MCCULLOUGH, RPR, a Notary Public in and for the

      20    District of Columbia, taken at the offices of

      21    Bredhoff & Kaiser PLLC, 805 15th Street, Northwest,

      22    Suite 1000, Washington, DC, at 9:52a.m., Thursday,




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                                                                                     App. 008
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     Cindy Horan                                                               July 27, 2017
                                       Washington, D.C.

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       1                          P R 0 C E E D I N G S

       2    Whereupon,

       3                               CINDY HORAN,

       4    called as a witness by counsel for the Plaintiff, and

       5    having been duly sworn by the Notary Public, was

       6    examined and testified as follows:

       7                 EXAMINATION BY COUNSEL FOR PLAINTIFF

       8    BY MR. STOLTZ:
                                                                                           :i
       9            Q.     Good morning.      My name is Brian Stoltz.

      10    And I am the attorney for the Secretary of Labor,

      11    which is the Plaintiff in this case.

      12                   Can you please tell us your name?

      13            A.     Cindy Horan.

      14            Q.     Thank you.     And, Ms. Horan, have you ever

      15    given testimony at a deposition before?

      16            A.     No.

      17            Q.     I'm going to cover just a few of the sort

      18    of deposition 101.         You understand that the court

      19    reporter,     just before we started, swore you in under

      20    oath?

      21            A.     Yes.

      22            Q.    And you understand that that means that




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                                                                                       App. 009
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     Cindy Horan                                                                   July 27, 2017
                                         Washington, D.C.

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       1    that's fine.           Just let me know, and we'll arrange

       2    that.        Okay?

       3            A.       Okay.

       4            Q.       Is there any reason, as we sit here this

       5    morning, that you are not able to give truthful and

       6    accurate testimony?

       7            A.       No.

       8            Q.       Are you an employee of American Airlines?

       9            A.       Yes.

      10            Q.       And what's your job at American Airlines?

      11            A.       I'm a flight attendant.

      12            Q.       How long have you been a flight attendant?

      13            A.       25 1/2 years.

      14            Q.       All for American Airlines at that time?

      15            A.       Yes.

      16            Q.       Now, this lawsuit -- one of the parties to

      17    the lawsuit is the Association of Professional Flight

      18    Attendants; is that right?

      19            A.       Yes.

      20            Q.       Also known as APFA?

      21            A.       Yes.

      22            Q.




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     Cindy Horan                                                               July 27, 2017
                                       Washington, D.C.

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       2            A.



       4            Q.     And are you a member of APFA?

       5            A.     Yes.

       6            Q.     Is every flight attendant a member of

       7    APFA?

       8            A.     No.

       9            Q.     So how does that work?            You have to agree

      10    to become a member?

      11            A.     Yes.   You have to sign a membership card.

      12            Q.     And do you know what percentage of the

      13    flight attendants at American Airlines are members of

      14    the union?

      15            A.     I do not.

      16            Q.     The union, though, engages, I take it, in

      17    collective bargaining on behalf of all the flight

      18    attendants; is that right?

      19            A.     Yes, they do.

      20            Q.     Now, so you've been a member of the APFA

      21    essentially since you started as a flight attendant;

      22     is that right?




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                                                                                       App. 011
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     Cindy Horan                                                                    July 27, 2017
                                         Washington, D.C.

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       1    membership, what is the highest governing authority

       2    for the union?          Is it the board of directors?

       3           A.       Not sure how to answer that because the

       4    board of directors meet, and they vote on things that

       5    will affect the members.             But as far as ratifying a

       6    contract, that's done by the membership.                     And the

       7    national officers have meetings with the company, you

       8    know, like, the -- the executive people of the

       9    company, presidents, vice presidents.

      10           Q.       Okay.     So certain things might be

      11    negotiated by the officers and then submitted to the

      12    union membership for ratification?

      13           A.       Correct.

      14           Q.
      15    ~¢methlt>.g cal.;t~~.i~ij •Nat.t:Or,tal :Sa:t;lot·:i;ngl(fC¢t-~J;'+~~·t'sf~15

      16    tnatriqnt?
      17           A.      lf.h~ ~jMIJI.t'Qn;<b.l. Ballot: c~.ft~~~$~

      18           o~      H~t:i;~~:;~:~itll~t ~ommitteE!<~

      19    ....d what 1$ t~~~J:~It'i€>~1 Sall.Qt• ¢~ttt;je?:

      20           A..     Th~' .;~-:it tee     consist$ .of. fi:VIY~~:r:~t£1~~~
      21    nave t>ean e:t;e~,~~ <t:iy the b~af:d o~.·.9·t~~~w~~~·~~tjJ
      22




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                                                                                            App. 012
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     Cindy Horan                                                                     July 27, 2017
                                             Washington, D.C.

                                                                                       Page 14

       1           Q..:.

       2    .·;t:$ ii~~ of· those p~~sGitli~ra, ~h~~~ ~~· t}?.e hoa:f41
       3           Jf..      Cox:q::.ect •

       4

       5           .A.       Ye~n

       6           Q.        And the other four members are at-large

       7    members, essentially?

       8           A.        Correct.

       9           Q.        And when the National Ballot Committee

      10    acts, does it -- for instance, if it's -- the

      11    National Ballot Committee is going to conduct an

      12    election, does it act by voting amongst itself?                         How

      13    does it make decisions?

      14           A.        When there is a vote to be had, we are

      15    told by          from -- the national secretary informs the

      16    National Ballot Committee that they will need to have

      17    an election whether it's an election for officers or

      18    whether it's a referendum.

      19           Q.       And once the National Ballot Committee is

      20    told that there need to be an election -- and

      21    let's -- let's focus here on, say, for officers.

      22    There needs to be an election for officers.                       The




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                                      Washington, D.C.

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       1           Q.     But, at the same time, nobody ever

       2    explained to them what it meant, so, as a practical

       3    matter, they didn't do it; is that right?

       4           A.     Correct.

       5           Q.     So is there anybody else at the union

       6    besides you and the other four members of the

       7    National Ballot Committee that had a login to the

       8    MRNS that had a capability of collecting these vote

       9    digests?

      10           A.     No.

      11                         (Exhibit No. 1 was marked for

      12                         identification.)

      13    BY MR. STOLTZ:                                                                  ·.·


      14           Q.    Ms. Horan,     I've given you a document that

      15    will be Exhibit 1 for this deposition.                And it's

      16    called "Defendant APFA's Answers to Plaintiff DOL's

      17    First Set of Interrogatories."

      18                  Do you see that?

      19           A.     Yes.

      20           Q.    And if you flip to the eighth page of

      21    Exhibit 1, there's a verification.               Do you see that?

      22           A.     Yes.




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                                                                                       App. 014
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     Cindy Horan                                                                   July 27, 2017
                                         Washington, D.C.

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        1            Q.      And it says, "I, Cindy Horan, do verify

            2   under penalty of perjury that I've read Defendant's

            3   answer to Plaintiff's Interrogatory No. 3 and know

            4   its contents."

            5                Do you see that?

            6        A.      Yes.

            7        Q.      And you signed this verification, correct?

            8        A.      Correct.

            9        Q.      Now, if you flip back to page 5 of

      10        Exhibit 1, it lists interrogatory No. 3, which asks
                                                                                               ,.
      11        to describe the ways in which candidates' observers
                                                                                               :
      12        were permitted to observe any aspect of the election

      13        essentially.

      14                     And let me ask you this:             What does it

      15        mean to be a candidate's observer during a union

      16        election such as this January 2016 election?

      17             A.      There are two different types of candidate

      18        observers.     We offer one type which is to be at the

      19        ballot count.       So a candidate can be at the ballot

      20        count along with two other people that he designates.

      21        Or if the candidate cannot be at the ballot count,

      22        they can have three designated observers.




       ''

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       1                      The other type of candidate observer would

       2     be for the e-mails that I send out daily with the

       3     members that have gone from an ineligible to an

       4     eligible status.           A candidate or a slate, if they do

       5     not wish to receive the daily e-mails, they can

       6     designate someone -- another member in good standing

       7     to be their observer to receive these e-mails.

       8

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      19                     .}l~\.

      20                              (Exhibit No. 2 was marked for

      21                              identification.)

      22     BY MR. STOLTZ:




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       1    system?

       2            A.        Correct.

       3            Q.        And one of those capabilities that you can

       4    bestow is the ability for that administrator to, in

       5    turn, log in and collect these vote digests?

        6           A.        Yes.

       7            Q.        But during the January 2016 election, you

       8    did not activate that capability for any other

       9    persons?

      10            A.        Correct.

      11            Q.        And was there a reason for not doing that,

      12    or is it just something that didn't ever occur to

      13    anybody?

      14            A.        Never occurred.

      15

      16

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                                                                                                                                                                                                                                Page 55

       1                    A~


       2                    Q.          And can you just describe for me -- on

       3    the -- the day or the night when the election period

       4    is concluding, describe the scene there at the -- at

       5    the candidate headquarters.                                        What's going on?

       6                    A.>         ~~f$ .1tia;tl:ot        close$ at leO >~~-+~\,. t&"~tl:;!la;Il,
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      19    tJt4tyJ~~•t.!Jn~\#t¥m:~             ;•":•intain.
      20                                At 10 o'clock, the system cuts off all

      21    voting.                And, shortly thereafter, the committee

      22    members all gather into that room.                                                                               I have my




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       1    APFA-issued laptop computer that is connected to a                                ·'

       2·   huge screen so that anyone in the room then can see

       3    the results.     I log into it as -- as a chairperson.

       4     I then have to have a second committee person co-log

       5    in with their special login for this.               And then I can

       6    hit "officiate results."

       7                 At which time, it shows me a screen that

       8     just gives me a place where I can put observers'

       9    names.     The names that are usually put on that is any

      10    candidate that is there that's listed for                   for

      11    that, their observer, the committee members, the

      12    National Ballot Committee members that are there.                      I

      13    do have an IT person there with me in case I have a

      14    problem with the computer to the -- to the monitor up

      15    there.

      16                 And then I hit "ballot count," and it

      17    shows up on my screen and immediately then pops up on

      18    the big screen.     And it gives the official results.

      19    I then go through and I read the results.                And then I

      20    let the galley know that we will be making copies.                         I

      21    send one of the committee members to one of the

      22    printers.    We print off the official results.                 We




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                                                                                  Page 57   !I
       1    have any person who is listed as an observer sign and

       2    date it.     We keep that one for our records.               And then

       3    the rest are handed out to any galley -- gallery

       4    members.

       5                 And there's two forms that we can do.                  We

       6    do the official one.         And then we can also break it

       7    down by base.     So those are available.

       8                 After all of that is done and everyone

       9    leaves, then I start the creation of a hotline to go

      10    out that gets sent out to any member that's signed up

      11    for it.     And it also gets posted on the APFA website.

      12           Q.     Okay.    Thank you.
                                                                                            i
                                                                                            !i
      13           A.    Mm-hmm.

      14           Q.     I'm going to ask just a few questions

      15    about what you said.         The room you're actually in,

      16    the "Unity Pays" Room; is that right?

      17           A.    Mm-hmm.

      18           Q.     Is that -- how big is it?             Is it, like, as

      19    big as a racket ball court?           Is it --

      20           A.     It's probably a little shorter than this,

      21    but it's wider than this room.

      22           Q.     Okay.    And we're in a big conference room.




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       1            A.       Okay.     So -- yeah, you know -- I'm sorry.

       2                     MR. ROTH:       Should have done a video

       3    deposition.

       4    BY MR. STOLTZ:

       5            Q.       I'm just trying to get a sense

       6            A.       I didn't think about that.

       7

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      11    the very front is where I sit with my laptop.                          And

      12    then there is a big white screen that we can project

      13    onto.

      14

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      17            A •.

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      19            Q.       Okay.     So at the very least, it's a room

      20    that can comfortably hold 20 or 30 people?

      21            A.       Yes.

      22




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      15             Q.         Okay.           So you went through the process.

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      11             A.         Corree;t.
      12                                   (Exhibit No. 4 was marked for

      13                                  identification.)

      14    BY MR. STOLTZ:

      15             Q.          I've handed you a document that will be

      16    marked as Exhibit 4.                      And it says -- at the top, it

      17    says "BP - APFA Voting System" at the very top.                                   And

      18    then it says "APFA National Officer Election Official

      19    Results."

      20                         Do you see that?

      21             A.          Yes.

      22




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       5            Q.        Okay.          So Exhibit 4 -- and I realize that

       6    the copy we have has signatures at the bottom.

       7            A.         Yes.

       8            Q.        But let's assume that those signatures are

       9    not there.

      10                       Is Exhibit 4 the -- the actual thing that

      11    people see on the screen in the "Unity Pays" Room

      12    during the vote count?

      13            A.        Yes.

      14            Q.        And is there anything other than Exhibit 4

      15    that observers see on the screen in the "Unity Pays"

      16    Room during the vote count?

      17            A.        After we show them this, they usually like

      18    to see the base-by-base breakdown.                                        And then we will

      19    pull that up, and then we will also print that for

      20    them.

      21            Q.        So the base-by-base breakdown, is it a

      22    similar sheet to Exhibit 4 except instead of just




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       1    giving the total results, it shows how many votes

       2    each candidate received in each of the bases?

       3           A.     Correct.

       4           Q.     So then, if I understand correctly,

       5    Exhibit 4 has been projected on a screen from your

       6    laptop.     These names down at the bottom of the first

       7    page of Exhibit 4, where it says Nena Martin,

       8    witness, Marcy Dunaway, witness -- it goes on

       9    these are the names that you typed in during this

      10    process who were present, and you say, Who wants to

      11    be an observer, and you type those in; is that right?

      12           A.     Correct.

      13           Q.     So after Exhibit 4 is projected onto this

      14    screen, you then print copies of Exhibit 4; is that

      15    right?

      16           A.    Correct.

      17           Q.    And you hand out copies to people who want

      18    them in the room; is that right?

      19           A.    That's correct.

      20           Q.    And then there's one copy that you

      21    actually have the observers sign, correct?

      22           A.    Correct.




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       1            Q.       And Exhibit 4 is that document that you

       2    actually have the observers            sign~    correct?

       3            A.       Correct.

       4            Q.       Is there anything else that you can think

       5    of that's noteworthy that happens in the "Unity Pays"

       6    Room?        Anything else that observers do in that room?

       7            A.       Observers are then allowed, after the

       8    ballot count, to ask the ballot committee to see who

       9    voted, who did not vote, the ineligible list.                       And no

      10    one did.

      11            Q.       So other than obviously seeing the results

      12    and then the ability to at least ask for the -- the

      13    who voted, who did not vote, anything else that

      14    observers can do in this "Unity Pays" Room?

      15            A.       No.

      16            Q.       Now, the union has a process for

      17    candidates to protest an election result; is that

      18    correct?

      19            A.       Yes.

      20            Q.       Okay.   And can you tell us just very

      21    generally what is that process.

      22            A.      A candidate has 15 days following the




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      14            Q.           And so this document, Exhibit 5,

      15    ultimately ended up in your hands as the chair of the

      16    National Ballot Committee; is that right?

      17            A.           Correct.

      18            Q.           And, at that point, I         think. you -- you

      19    told me earlier what the general procedure was.                          But,

      20    at that point, you commenced an investigation; is

      21    that right?

      22            A.           Yes.




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       4                         ¥'~i~

       5             Q.         And if you look at page 4 of Exhibit 6,

       6    you signed this letter, correct?

       7             A.          Correct.

       8             Q.         And let me ask you.                     On page 1 of

       9    Exhibit 6, you state that,                         "The National Ballot

      10    Committee has completed its investigation of your

      11    national vice president election complaint that was

      12    received by the APFA national secretary on January

      13    22nd, 2016."

      14                         Do you see that?

      15             A.         Yes.

      16             Q.          So can you tell me specifically about what

      17    occurred in the investigation of Mr. Morales'

      18    complaint that is referenced on -- in the first

      19    sentence of Exhibit 6.

      20             A.          I don't understand what you're asking.

      21             Q.          I'm sorry.            There's -- what happened in

      22    the investigation of Mr. Morales' complaint?                                 You've




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       1    example, if you had your laptop at your house and you

       2    had another -- say, you decided to do this at your

       3    house.      Could you log in from your house, and have

       4    somebody else there, and obtain the results from your

       5    house if, for someone reason, the "Unity Pays" Room

       6    wasn't available?

       7           A.      I could.

       8           Q.      That's --my question is when you log in,

       9    you're talking about logging into the election

      10    server, correct?

      11           A.      Correct.

      12           Q.     And to do that, you go -- you get on a

      13    computer, and you type in your                whatever address

      14    you go to, and then you input your credentials,

      15    correct?

      16           A.      Correct.

      17           Q.     And I'm just trying to confirm.              My

      18    understanding is you can do that from any computer,

      19    correct?

      20           A.      Correct.

      21           Q.      You don't have to be in the "Unity Pays"

      22    Room to do that.      You could have -- if somebody said,




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                                                                                                Page 87

       1    Hey, let's do the -- the election count at a bai just

       2    instead, we could have done it there, correct?

       3             A.         Correct.

       4             Q.        so: ~tltl\;;~6\l~t.ing .of
       5    a1:~ .tn~~·l:>al.lcts 1 %~qu1Jt.·eti' -- aailo;lfi:l~~~~·. ~~~~:lt~~·

       6

       7    .f:~~g;t$¢:ns th•~ ~~t~)ly t~e

       8                       MR. ROTH:          You have to give a verbal

       9    response.

      10

      11    t~''$Ytheit pt:Q~;ft~ tha't CO\\llt~. :!,~.

      12    BY MR. STOLTZ:

      13             Q.

      14    .i~tn~+~Y ... ,. . y<nft~~. ~*ody else at ~n.• litii+P.\'·~~t'!;l.~ll.:Y

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      16             a.~       CQr;';t.~;t.

      17             Q<;       .A!! ·;f~~.·Oa:~ you :kl);OW!~'{t,l\t'llt

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      19    ~$'b{t.~e~'?

      2o                       ·c<iitn~~t·.

      21             Q.        And then they essentially send the results

      22    to you to whatever computer you've logged in on?




                                          Alderson Court Reporting
     1-800-FOR-DEPO                                                             www .aldersonreporting.com

                                                                                                     App. 031
Case 4:16-cv-01057-A        Document 33          Filed 08/25/17          Page 35 of 50         PageID 511

     Cindy Horan                                                                                   July 27, 2017
                                              Washington, D.C.

                                                                                                    Page 101

       1             Q.       And do you recall any discussion at that

       2    meeting of these vote digests?

       3             A.        No.

       4             Q.        Turning back to Exhibit 7 of page -- page

       5    8, there's a paragraph that says, "After the ballot

       6    tally, the 'Who Voted' and 'Who Did Not Vote' lists

       7    were available for users to view.                           No one asked to

       8    view the lists.              Samuel Morales did not request to

       9    view the list.             Morales left the union hall

      10    immediately after the ballot count was certified."

      11                       Is that accurate?

      12             A.       Yes.

      13                      were~ ~~a ¢.\)l~i~~~e.~t,Q'J:>s$;>.~Ve~$,1P¢~:~~4~~,

      14    ~~~~~·~~·.2'0[~ : ~J,:e<;!\'ti.Qn :p~~~t~ilad .a~y .4ppo}::i;~~~·~·;~t~~

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      16    s:'~?f;Mt!f':

      17                      N~;


      18

      19                       .
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      20    s y~t;"~?

      21                      No..

      22             Q.       Exhibit 4 is the official results from the




                                          Alderson Court Reporting
     1-800-FOR-DEPO                                                             www.aldersonreporting.com

                                                                                                           App. 032
Case 4:16-cv-01057-A          Document 33       Filed 08/25/17       Page 36 of 50      PageID 512

     Cindy Horan                                                                         July 27, 2017
                                              Washington, D.C.

                                                                                            Page 102

       1    January 2016 election.                  Do you see that?

       2            A.          Yes.

       3            Q.          Were candidates' observers provided any

       4    opportunity to obtain an assurance that the results

       5    listed on this Exhibit 4 did, in fact,                       come from

       6    BallotPoint?

       7            A.          I don't really understand.

       8            ,Q.•.:·

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      20

      21

      22                       MR. STOLTZ:         Can we go off the         r~cord     for




                                          Alderson Court Reporting
     1-800-FOR-DEPO                                                       www .aldersonreporting.com

                                                                                                 App. 033
Case 4:16-cv-01057-A    Document 33     Filed 08/25/17    Page 37 of 50   PageID 513




            1                  CERTIFICATE OF REPORTER
            2   UNITED STATES OF AMERICA) ss.:
            3   DISTRICT OF COLUMBIA      )
            4          I, ANGELA MCCULLLOUGH, the officer before whom
            5 the foregoing proceedings were taken, do hereby
            6   certify that the foregoing transcript is a true and
            7   correct record of the proceedings; that said
            8   proceedings were taken by me stenographically to the
            9   best of my ability and thereafter reduced to
           10   typewriting under my supervision; and that I am
           11   neither counsel for, related to, nor employed by any
           12   of the parties to this case and have no interest,
           13   financial or otherwise, in its outcome.
           14
           15
           16
           17                           Notary Public in and for
           18                          The District of columbia
           19
           20   My commission expires: 1/31/2020
           21
           22




                                                                                 App. 034
Case 4:16-cv-01057-A          Document 33             Filed 08/25/17     Page 38 of 50         PageID 514




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION




   R. ALEXANDER ACOSTA, Secretary of
   Labor,

            Plaintiff,

   v.                                                    Civil Action No. 4:16-cv-1057-A

   ASSOCIATION OF PROFESSIONAL
   FLIGHT AITENDANTS,

          Defendant.


           DEFENDANT APFA'S ANSWERS TO PLAINTIFF DOL'S FIRST SET OF
                              INTERROGATORIES

           Defendant, the Association of Professional Flight Attendants ("APFA"), hereby answers

   the first set of interrogatories propounded on it by the Plaintiff, R. Alexander Acosta, acting in

   his official capacity as the Secretary of Labor.

           APFA has not completed its investigation of all the facts relating to this litigation. All of

   the objections and answers contained herein are based only on the information, documents, and

   sources that are presently available and known to APFA, based on a reasonable and ongoing

   investigation of available sources. APF A expressly reserves its right to supplement, clarify,

   revise, or correct any or all of the objections and answers, and to supplement its objections, and

   answers, as well as its assertions of privileges, as appropriate.

           APFA objects generally to Plaintiff's intetTogatories to the extent they call for

   information protected by the attorney-client privilege or the attorney work-product doctrine.


                             •      EXHIBIT     ll\

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                             I -, 1:11·, 11                                                                App. 035
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             Each of Plaintiff's interrogatories is set forth in bold preceding APFA's answer and/or

     objections to that interrogatory.




             At this point in time, the facts known to APFA which support this denial are as follows:

             I.     In his internal union complaint, see DOL 0087, Samuel Morales stated no basis

     for his "feel[ing]" that APFA violated the ballot secrecy provision of the LMRDA. Nor did he

     assert (much less point to any evidence) that the secrecy of any union member's vote had

     actually been compromised, or that any member had claimed that a concern about ballot secrecy

     impacted how, or if, that member voted.

            2.      In his subsequent complaint to the DOL, see DOL 0001, Mr. Morales likewise

     stated no basis for his "belie[£]" that APFA violated the ballot secrecy provision of the LMRDA.

     Nor did he assert (much less point to any evidence) that the secrecy of any union member's vote

     had actually been compromised, or that any member had claimed that a concern about ballot

     secrecy impacted how, or if, that member voted.

            3.      The Complaint Interview Questionnaire prepared by DOL investigator Keith

     King, see DOL 0139, states that Mr. Morales was interviewed by the DOL on March 8 and 17,

     2016, and that in his interview Mr. Morales stated "that he couldn't single out any particular

     evidence to support his statement that he felt that APFA violated ... the ballot secrecy provision

     of [the LMRDA]."

            4.      In his deposition, Stephen J. Willertz testified that, to his knowledge, during the

     course of the DOL's investigation, neither Mr. Morales nor any other union member expressed a



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                                                                                                          App. 036
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     concern that-to .quote paragraph 21 ofthe DOL's Complaint in this matter-"[t]he

     [BallotPoint] system stores and maintains member identifying information and voting records on

     two servers in a way that could allow individuals with access to both of the servers to identify

     how a member voted." See Willertz Dep. at 45-47.

             5.     In his deposition, Mr. Willertz further testified that based on the evidence "noted"

     in the DOL's investigation, "(t]here is just no way" that voters in the challenged APFA election

     could have made "any sort of assessment as to whether or not votes and voters could be

     connected." See Willertz Dep. at 41-42.

            6.      Along the same lines, an Interrogatory Response signed by Mr. Willertz states

     that "BallotPoint's election system is not accessible for inspection by members or their agents;

     moreover, its complicated highly-technical design makes it highly unlikely that a union member

     could discern whether it was functioning to only count votes from eligible voters and to

     accurately count those votes," see Responses at pp. 9-1 o·, and Mr. Willertz admitted in his

     deposition testimony that the same considerations make it "highly unlikely, if not impossible,

     that a member could discern that there is data on the two servers that could be connected up to

     link a voter with the vote," see Willertz Dep. at 226-27.

            7.      A Statement of Reasons disposing of a prior election challenge brought by Mr.

     Morales, see Willertz Dep., Exh. 18, coupled with the two election complaints filed by Mr.

     Morales in this matter, see subparagraphs l-2 above, show that Mr. Morales challenged the

     national officers' election at issue here on secret ballot grounds because the DOL had planted a

     seed in Mr. Morales' head that the BallotPoint system did not adequately ensure ballot secrecy,

    and not because Mr. Morales had an independent feeling or belief that such was the case.




                                                      3




                                                                                                           App. 037
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           Discovery in this action is ongoing, and APFA anticipates that it will be able to develop

    additional facts in support of its denial in the course of that discovery.

   INTERROGATORY NO.2: Describe in detail the complete factual basis for the APFA's
   denial of the contention in paragraph 27 of Plaintiffs original complaint that the violation
   of29 U.S.C. § 481(c) alleged by Plaintiff in the original complaint may have affected the
   outcome of the APFA's election for the offices of National President, National Vice
   President, National Secretary, and National Treasurer at issue in this action.

   At this point in time, the facts known to APFA which support this denial are as follows:

            1.     The facts and opinions set out in Part III.B of Curt Stapleton's expert report,

   which APFAprovided to the Secretary on June 30,2017, and which Mr. Stapleton likely will be

   called upon to elaborate on in his forthcoming deposition.

           2.      The facts and opinions summarized in Part (ii)(6) of the Rule 26(a)(2)(C)

   Disclosure pertaining to Gerry Feldkamp's anticipated expert testimony, which APFA provided

   to the Secretary on June 30, 2017, and which Mr. Feldkamp likely will be called upon to

   elaborate on in his forthcoming deposition.

           3.      Mr. Feldkamp, Mike Baum, and Bob Thompson, the three BallotPoint engineers

   with privileged access to the BallotPoint system, are anticipated to confirm that they did not

   engage in any form of misconduct or tampering with the software application related to the

   recordation and counting of votes in the challenged APFA election. And BallotPoint's business

   reputation and track record, among other factors, stand as independent confirmation of this fact.

           4.      In his deposition, Mr. Willertz testified that "I don't have any evidence that the

   results [of the election] are inaccurate or wrong." See Willertz Dep. at 249.

           5.      In his deposition, Mr. Willertz further testified that a "spot check" of the

   underlying vote data in the election disclosed nothing irregular. See Willertz Dep. at 265-66.




                                                      4



                                                                                                         App. 038
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             6.     There are no facts, and the DOL has cited none, that raise a reasonable possibility

     that the alleged violation of29 U.S.C. § 481(c) may have affected the outcome ofthe challenged

     APF A National Officer Elections.

            Discovery in this action is ongoing, and APFA anticipates that it will be able to develop

     additional facts in support of its denial in the course ofthat discovery.




             1.     Candidates were permitted to inspect (but not copy) the membership list once

     within the thirty (30) days prior to the mailing of the ballots. Candidates are permitted to inspect

     (but not copy) the membership list and a list of the voting members from the previous National

     Officer elections once within forty-five (45) days prior to the mailing or electronic availability of

     the ballots. Candidates were informed of these opportunities through the form candidate letter

     sent by Cindy Horan to all candidates. See DOL0397-DOL0401. In addition, the complainant in

     this matter, Samuel Morales, was advised, in a December 24, 2015 email from National Ballot

     Committee Chairperson Cindy Horan, that he could review a list of eligible voters and a list of

     ineligible members at the ballot count. See APFA-00000252, APF A-00000262.

            2.      Observers were permitted to observe the preparation and mailing of the ballots

     (that is, the voting credentials prepared and mailed by Allied Media). Candidates were informed

     of this opportunity through the form candidate letter sent by Cindy Horan to all candidates. See

     DOL0397-DOL0401.

            3.      Observers were provided by the APFA National Ballot Committee with a daily

     list of the APFA members who became eligible to vote after the ballots (that is, the voting



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                                                                                                             App. 039
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     credentials prepared and mailed by Al1ied Media) had been mailed. Observers had 48 hours to

     challenge the eligibility of any newly eligible member. Candidates were informed of this

     opportunity through a candidate Jetter sent by Cindy Horan to aJI candidates on December 10,

     2015. See APFA-00000290-APFA-00000291. Candidates were also informed ofthis

     opportunity in the APFA Policy Manual,§ 14.0. See APFA-00000216.

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                   5.                            Candidates were permitted to request to view the Who Voted and Who Did Not

     Vote Reports after the ballot count. Information regarding a candidate's right to view these

     reports was not communicated to candidates in a formal communication, but would be shared

     with candidates in response to candidate inquires regarding which members voted. In addition,

     the complainant in this matter, Samuel Morales, was advised, in a December 24,2015 email

     from National Ballot Committee Chairperson Cindy Horan, that he could review a list of the

     members who voted at the ballot count. See APFA-00000252, APFA-00000262.




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                                               Respec ull submi1        J:i;t_
                                                                        1
                                               ANDREW D. ROTH*
                                               D.C. Bar No. 414038
                                               ROBERT ALEXANDER*
                                               D.C. BAR No. 465673
                                               ADAM BELLOTTI*
                                               D.C. BarNo. 1020169
                                               Bredhoff & Kaiser, P.L.L.C.
                                               805 Fifteenth St. N.W., Tenth Floor
                                               Washington, D.C. 20005
                                               Tel: (202) 842-2600
                                               Fax: (202) 842-1888
                                               Email: aroth@bredhoff.com
                                               Email: ralexander@bredhoff.com
                                               Email: abellotti@bredhoff.com

                                               SANFORD R. DENISON
                                               Texas Bar No. 05655560
                                               Baab & Denison, LLP
                                               6301 Gaston Avenue, Suite 550
                                               Dallas, TX 75214
                                               Tel: (214) 637-0750
                                               Fax: (214) 637-0730
                                               Email: denison@baabdenison.com

                                               Attorneys for Defendant Association
                                               of Professional Flight Attendants




     * Admitted Pro Hac Vice
     Dated: July 12,2017




                                           7




                                                                                            App. 041
Case 4:16-cv-01057-A          Document 33               Filed 08/25/17                 Page 45 of 50           PageID 521




                                                       Verification
              .      I, Cindy Horan; do verizy under penalty of perjury that( have re Defendant's Answer
             to :Plaintiff's Interrogatory No. 3 and know its contents. I am informed     believe that the
             factual matters set out in the above response are true and accurate to the est of my knowledge,
             intormntion, and/or belief.*




                                                                                         · tee Chairperson


             *The APFA's Answers to Interrogatories 1 and 2, which are in the natu.
             iilt~rrogatories, have been prepared by undersigned counsel on the prec



            I>ATED: July 10, 2017




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                                                                                                                      App. 042
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                                     CERTIFICATE OF SERVICE

            The undersigned hereby certifies that on the 12th day of July, 2017, the above and

     foregoing document was served on Plaintiffs counsel of record electronically by email

     transmission and by USPS, First Class mail, postage prepaid, as authorized by Federal Rule of

     Civil Procedure 5(b), addressed to the following:


     Brian W. Stoltz ·
     Assistant United States Attorney
     1100 Commerce Street, Third Floor
     Dallas, Texas 75242-1699
     Telephone:     214-659-8626
     Facsimile:     214-659-8807
     brian.stoltz@usdoj.gov

                                                           {lA?£
                                                         ADAM BELLOTTI




                                                    9




                                                                                                     App. 043
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       . BP - APF A Voting System                                                                                                         Page 1 of2




                                                                   lJ.Iat-.Mt:lll••
                                                                         . . . .i!Jh· . .•
                                                              Ballot ending: 0110912016 10'00:00 (Central)




                                                                                TOTAL

            Please select one of the folloWing c:andldates for APFA National Pr1!$ident:                              Total                 Petcent
                     Lori Bas$ani                                      .                                               599                     6.41
                     Steven Baumert                                                                                   1168                    12.50
                     Kimberty Goesling                                                                                 449                     4.80
                     Patrick Hancoclc                                                                                 1750                    18.72
                     Andrea S. J<Jrnos                                                                                  53                     0.57
                     BrianMolQan                                                                                      1143                    12.23
                      Bob Ross                                                                                        3151                    33.71
                      Rock Salomon                                                                                    1034                    11.06
                      Tota                                                                                            9347

            Please select one of the folloWing c:andidates for APFA National Vice President:                          Total                 Percent
                     Marcus Gluth                                                                                     2632                    28.91
                     NenaMartin                                                                                       4779                    52.49
                     Samuel Morales                                                                                   1693                    18.60
                     Total                                                                                            9104

            Please select one of the following candidates for APFA National SecretaJY:                                Total                 Percent
                     Nicole Darak                                                                                     2572                    28.16
                     Marcy Dunaway                                                                                    3301                    36.14
                     Jacob FuUet                                                                                      1892                    20.71
                     Donald leBlanc                                                                                    375                     4.11
                      Jaana Lehtola                                                                                    994                    10.88
                      Total                                                                                           9134
            Please select one of the folloWing candidates for APFA National Treasurer:                                Total                 Percent
                     Craig Gunter                                                                                     3344                    36.52
                      Roee Rio Harrari                                                                                 147                     1.61
                      Stefany Jones                                                                                   1582                    17.28
                      Nestor Oueculy                                                                                   935                    10.21
                      Eugenio Vargas                                                                                  3148                    34.3$
                      Total                                                                                           9156




            :=====~lf=--:===--='==
            • There were 0 ballots cast in. which the voter did. not make a selection.            .. .. . ..·   .   ....--·
            These Official Results witnessed and certified by Nena Martin, Marcy Dunaway, Kimberly                            m Morales, Michaet
            Truan, Liz Geiss, Marie Plevritis, Lena Gale, Cindy Horan, Leatha     ing-Berry and A vi

            Nena Martin
            witness

            Marcy Donaway
            witnes$

            Kimberly Goeiiling



            witness                   · -   .::~·


            Michael Ttuan
            witness

            UzGeiss
            witness




       hrtns://www.ballotooint.com/apfa/cgi-bin/dispatcher.nl                                                                                1/9/2016
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      . •BP - APFA Voting System                                                                                                      Page2 of2


            .......... 11~
             Witness

            Lena~ t.N-J/ ·
            witness




            witness

            Avis Rives
            witness


                                                                 Report generated: 0110912016 10()9:07 (Cenlrill)




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   January 22, 2015



   --~~~"···'tothe.sec~ta0ofAPFA,. JJPharr,·t~··be. fo~ar~ed
                                               Mr.                                t:··t:e·
    National Balloting Committee, Cindy Horan, to overturn my National Vice President
    Election, canvassed on January 09, 2016 at APFA Unity Headquarters, and I call for
    a new election to be run under the observation and direction of the Department of
    Labor (DOL), and in accordance with provisions outlined in section 401(e) of the
    LMDRA, See 29 C.F.R. Subsection 452.97.

   The Association of Professional Flight Attendants, herein after referred to as the
   "APFA," utilized an Internet and telephone voting system which is designed by a 3rd
   party company, called Ballot Point, which is located in a different state, where as
   each member is required to enter an employee identification number (VIN) and a
   (PIN) number, '11itli¢b"'~tN~~;,'tW!\Wte;;jJfi~lf;IJI~II~11;
   ~-,which is cast by telephone and whereas votes during this election
   process can no longer be changed as in previous elections. APFA arbitrarily made
   changes to electronic voting without providing an explanation as to why changes
   were made.

   Moreover, no record of undelivered/returned ballot envelopes was
   published or provided for any of the observers who observed at APFA
   Headquarters. Where did the returned ballots go and who receives them
   when they're returned undelivered? What safeguards and/or protections
   members we have if the so-called "Official Tallies" arrive in one room at
   APFA (a room off limits to ballot count observers) and are forwarded to the
   main Unity Pays room where the observers are and the tally is counted.
   This procedure is both unsterile and unsecure.

   Section 401(c) of the LMRDA requires that "adequate safeguards to take place in
   order to insure that a fair election be provided, which includes the right of any
   candidate to have an observer at each of polls and at the counting of the ballots."
   Since APFA is in one state and Ballot Point is in another, its is practically impossible
   for me (or any observer) to view the balloting process, which I believe violates
   LMDRA 29 U.S.C. 481(c).                              .

   The Department of Labor's (DOL) regulations at 29 CFR 452.107(a) state that
   under the provisions of section 401(c), each candidate must be permitted to have
   an observer (1) at the polls and (2) at the counting of the ballots. That right also
   encompasses every phase and every level of the counting and tallying process,
   including the counting and tallying of the ballots and the totaling, recording, and
   reporting of the tally sheets. Furthermore, if there is more than one polling place,
   the candidate may have an observer at each location. If ballots are being counted
   at more than one location or at more than one table at a single location, a
   candidate is entitled to as many observers as necessary to observe the actual
   counting of the ballots. The observer may note the names of those voting so that
   the candidates may be able to ascertain whether unauthorized persons voted in the


                                                           '     EXHIBIT 1(.11\

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    election. The observers should be placed so that they do not compromise, or give
    the appearance of compromising, the secrecy of the ballot.

    on...... ttill•t$,'~=,aar·=,=~M•Na~q:.-ttMM~tr••~"•._*,.._l~~t
    ~INIJ'·{~if(fl                    './Qfif-~ No eligible membership voters list
    was provided, however APFA provided the names of those who became dues
    current within the required statutory voting deadline, a new change never provided
    before and was sent via email, but not the entire eligible list .




    Furthermore the DOL's regulations at 29 CFR 452.107( c) states that "In any secret
    ballot election which is conducted by mail, regardless of whether the ballots are
    returned by members to the labor organization office, to a mail box, or to an
    independent agency such as a firm of certified public accountants, candidates must
    be permitted to have an observer present at the preparation and mailing of the
    ballots, their receipt by the counting agency and at the opening and counting of the
    ballots."

    Moreover, the DOL's regulations at 29 CFR 452.110(a) states, in part, that "the Act
    contains a general mandate in Section 401(c), that adequately safeguards to insure
    a fair election be provided .... A labor organization's wide range of discretion
    regarding the conduct of elections is thus circumscribed by a general rule of
    fairness."

    Also with regard to Preservation of Records Section 401(e) of the LMRDA which
    provides that "[t]he election officials designated in the constitution and bylaws or
    the secretary, if no other official is designated, shall preserve for one year the
    ballots and all other records pertaining to the election." 29 U.S.C. 481 .     · ·· ·




    It is for the above aforementioned, I am calling for the NBC to overturn the
    National Vice President election, and I also demand that a new election balloting

                     ..2,=\'~'-I\J•~......,~•• ;.~,~?--Jim;
    process begin which utilizes a paper ballot with a neutral third-party balloting
   =b~;m
